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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION




 RICKEY D. WYATT,                            )
                                             )
              Plaintiff,                     )
                                             )
 VS.                                         )             CIVIL ACTION NO.
                                             )
 LISA HILL and AMERIHOME                     )             3:23-CV-1608-G-BN
 MORTGAGE COMPANY, LLC,                      )
                                             )
              Defendants.                    )




        ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
   RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings and conclusions in this case

 recommending (1) that, if within the time to file objections, the defendant

 AmeriHome Mortgage Company, LLC (“AmeriHome”) provides evidence to support

 its jurisdictional allegations, the court should grant its motion for summary judgment

 (docket entry 20) and dismiss the claims against it with prejudice and (2) that, if

 within the time to file objections, the plaintiff Rickey D. Wyatt fails to show why the

 time to properly effectuate service as to the defendant Lisa Hill (“Hill”) should be

 extended for good cause under Federal Rule of Civil Procedure 4(m), the court should

 dismiss the claims against Hill without prejudice (docket entry 26) (the “FCR”).

       Wyatt failed to respond.
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       But, nine days after entry of the FCR, AmeriHome submitted evidence (docket

 entry 27) that the court finds sufficient to support jury findings as to the parties’

 citizenships, including the declaration of one its executives setting out its citizenship

 as a limited liability company, which is neither Texas nor Louisiana, see docket entry

 27-3; SXSW, L.L.C. v. Federal Insurance Company, 83 F.4th 405, 407-08 (5th Cir.

 2023), and evidence that reflects that Wyatt is domiciled in Texas, while Hill is

 domiciled in Louisiana, see docket entries 27-1 & 27-2; SXSW, 83 F.4th at 407;

 Coury v. Prot, 85 F.3d 244, 251 (5th Cir. 1996).

       As no objections were filed, and satisfied that AmeriHome, as the party

 invoking the court’s diversity subject-matter jurisdiction through removal, has

 satisfied its burden at summary judgment to “provide evidence sufficient to support a

 jury finding of the citizenship of each” party, Megalomedia Incorporated v. Philadelphia

 Indemnity Insurance Company, 115 F.4th 657, 659 (5th Cir. 2024) (published order),

 the court reviewed the FCR for plain error.

       Finding none, the court ACCEPTS the Findings, Conclusions, and

 Recommendation of the United States Magistrate Judge.

       SO ORDERED.

 March 25, 2025.

                                          ___________________________________
                                          A. JOE FISH
                                          Senior United States District Judge



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